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 8                           UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
10
11 RAYNARD BIRD CORNWELL,                        )   Criminal No. 02-CR-625-L
                                                 )
12                       Petitioner,             )   ORDER DENYING MOTION FOR
                                                 )   MODIFICATION OF TERM OF
13 v.                                            )   IMPRISONMENT PURSUANT TO
                                                 )   18 U.S.C. § 3582(c)(2)
14 UNITED STATES OF AMERICA,                     )
                                                 )
15                       Respondent.             )
                                                 )
16
17         On November 10, 2010, Petitioner Raynard Bird Cornwell (“Petitioner”), proceeding
18 pro se, filed a Motion for Reduction of Sentence pursuant to 18 U.S.C. § 3582(c)(2).
19 Petitioner’s motion is based upon a temporary emergency amendment to the Federal
20 Sentencing Guidelines pertaining to crack cocaine offenses, which became effective
21 November 1, 2010. The Court has reviewed the record and for the reasons set forth below,
22 DENIES Petitioner’s motion.
23         On September 5, 2006, Petitioner was sentenced to 151 months for Conspiracy to
24 Distribute Cocaine and Cocaine Base in violation of 21 U.S.C. §§ 841(a)(1) and 846.
25 Petitioner was sentenced as a “career offender” under U.S.S.G. § 4B1.1 because he had prior
26 convictions for drug trafficking and a crime of violence.
27         Although the Sentencing Commission lowered the offense levels in U.S.S.G. §
28 2D1.1(c) related to crack cocaine drug quantities, it did not lower the sentencing range for
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 1 career offenders under U.S.S.G. § 4B1.1, which is what set Petitioner’s sentencing range.
 2 Because Petitioner was sentenced as a career offender, he is ineligible for a sentencing
 3 reduction under the emergency amendment. “A reduction in the defendant’s term of
 4 imprisonment is not consistent with this policy statement and therefore is not authorized under
 5 18 U.S.C. § 3582(c)(2) if . . . an amendment listed in subsection (c) [of § 1B1.10] does not
 6 have the effect of lowering the defendant’s applicable guideline range.” U.S.S.G §
 7 1B1.10(a)(2). The career offender guidelines under U.S.S.G. § 4B1.1 were unaffected by the
 8 emergency amendment. Thus, as a career offender, Petitioner’s base offense level of 37
 9 remains the same as it was at the time of sentencing.
10         Therefore, Petitioner’s Motion for Relief of Sentence pursuant to 18 U.S.C. §
11 3582(c)(2) is DENIED.
12         IT IS SO ORDERED.
13
14 DATED: November 16, 2010
15
                                                       M. James Lorenz
16                                                     United States District Court Judge
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18 COPY TO:
19 PETITIONER
   U.S. ATTORNEY’S OFFICE
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